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Fill in this information to identify your case:


United States Bankruptcy Court for the:

NORTHERN DISTRICT OF TEXAS

Case number (if known)                                                     Chapter      11
                                                                                                                             Check if this an
                                                                                                                             amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Lady's Island LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                    Mailing address, if different from principal place of
                                                                                                 business

                                  950 E. State Highway, Suite 160
                                  Southlake, TX 76092
                                  Number, Street, City, State & ZIP Code                         P.O. Box, Number, Street, City, State & ZIP Code

                                  Tarrant                                                        Location of principal assets, if different from principal
                                  County                                                         place of business
                                                                                                 139 State Rd. S-7-578 Beauford, SC 29907
                                                                                                 Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Lady's Island Investors LLC                                                                    Case number (if known)
          Name


7.   Describe debtor's business          A. Check one:
                                              Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                              Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                              Railroad (as defined in 11 U.S.C. § 101(44))
                                              Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                              Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                              Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                              None of the above

                                         B. Check all that apply
                                             Tax-exempt entity (as described in 26 U.S.C. §501)
                                              Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                              Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                            See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the          Check one:
     Bankruptcy Code is the                   Chapter 7
     debtor filing?
                                              Chapter 9
                                              Chapter 11. Check all that apply:
                                                                   Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                   are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                   The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                   business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                   statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                   procedure in 11 U.S.C. § 1116(1)(B).
                                                                   A plan is being filed with this petition.
                                                                   Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                   accordance with 11 U.S.C. § 1126(b).
                                                                   The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                   Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                   attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                   (Official Form 201A) with this form.
                                                                   The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                              Chapter 12



9.   Were prior bankruptcy                   No.
     cases filed by or against               Yes.
     the debtor within the last 8
     years?
     If more than 2 cases, attach a
     separate list.                                 District                                When                                  Case number
                                                    District                                When                                  Case number

10. Are any bankruptcy cases                 No
    pending or being filed by a              Yes.
    business partner or an
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                         Debtor                                                                    Relationship
                                                    District                                When                              Case number, if known



11. Why is the case filed in           Check all that apply:
    this district?                           Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                             preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.



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Debtor   Lady's Island Investors LLC                                                             Case number (if known)
         Name


12. Does the debtor own or          No
    have possession of any          Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    real property or personal
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                               It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                              What is the hazard?
                                               It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                              livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                               Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                               No
                                               Yes. Insurance agency
                                                       Contact name
                                                       Phone



         Statistical and administrative information

13. Debtor's estimation of      .        Check one:
    available funds                         Funds will be available for distribution to unsecured creditors.
                                            After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                            1,000-5,000                                25,001-50,000
    creditors                       50-99                                           5001-10,000                                50,001-100,000
                                    100-199                                         10,001-25,000                              More than100,000
                                    200-999


15. Estimated Assets                $0 - $50,000                                    $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                    $50,001 - $100,000                              $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                             $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                More than $50 billion


16. Estimated liabilities           $0 - $50,000                                   $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                     $50,001 - $100,000                            $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                            $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                          $100,000,001 - $500 million                 More than $50 billion




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Debtor   Lady's Island Investors LLC                                                               Case number (if known)
         Name



         Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      June 28, 2019
                                                  MM / DD / YYYY


                             X   /s/ Richard Woods                                                        Richard Woods
                                 Signature of authorized representative of debtor                         Printed name

                                 Title




18. Signature of attorney    X   /s/ John C. Leininger                                                     Date June 28, 2019
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 John C. Leininger
                                 Printed name

                                 Shapiro Bieging Barber Otteson LLP
                                 Firm name

                                 5430 LBJ Freeway
                                 Suite 1540
                                 Dallas, TX 75240
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (214) 377-0146                Email address      jcl@sbbolaw.com


                                 #24007544 TX
                                 Bar number and State




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